        Case: 4:15-cv-00086-DMB-JMV Doc #: 1 Filed: 07/07/15 1 of 5 PageID #: 1



                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF MISSISSIPPI
                                  GREENVILLE DIVISION

EDWARD DALON, SURVIVING SPOUSE
AND ADMINISTRATOR OF THE ESTATE OF
JUDY L. DALON, DECEASED                                                               PLAINTIFF

v.                                                                  4:15-CV-086-DMB-JMV
                                                   CIVIL ACTION NO. ____________________

RULEVILLE NURSING AND
REHABILITATION CENTER, LLC                                                          DEFENDANT


                                    NOTICE OF REMOVAL


         Pursuant to 28 U.S.C. §§ 1441 and 1446, Ruleville Nursing and Rehabilitation Center,

LLC ("Ruleville") files this Notice of Removal of the civil action styled Edward Dalon,

Surviving Spouse and Administrator of the Estate of Judy L. Dalon, Deceased v. Ruleville

Nursing & Rehabilitation Center; Civil Action No. 2015-0134, from the Circuit Court of

Sunflower County, Mississippi, to the United States District Court for the Northern District of

Mississippi, Greenville Division. In support of this Notice, Ruleville states the following:

         1.       Plaintiff Edward Dalon filed this medical negligence action on June 2, 2015. The

lawsuit arises out of the care and treatment provided to Judy Dalon while a resident of Ruleville

Nursing and Rehabilitation Center, LLC. According to the Complaint, Judy Dalon suffered

injuries and death as a result of Ruleville's alleged negligence.

         2.       Plaintiff served Ruleville with a copy of a Summons and Complaint on June 16,

2015. See Exhibit A.1 In the Complaint, Plaintiff asserts claims of negligence and wrongful

death against the Defendant. Plaintiff contends that Defendant's alleged acts and/or omissions

caused "severe personal injuries" and the death of Judy Dalon. Complaint at ¶ 31.



JM GCG 1404164 v1
2914439-000423 07/07/2015
          Case: 4:15-cv-00086-DMB-JMV Doc #: 1 Filed: 07/07/15 2 of 5 PageID #: 2



           3.       This removal is timely because Ruleville filed this Notice of Removal within

thirty days of June 16, 2015, when the Plaintiff served Ruleville with its Summons. See 28

U.S.C. § 1446(b).

           4.       The Court has diversity jurisdiction over this matter under 28 U.S.C. § 1332

because (1) the amount in controversy exceeds $75,000.00, exclusive of costs and interest, and

(2) there is diversity of citizenship between the Plaintiff and Ruleville.

           5.       It is apparent that the amount in controversy requirement is met because Plaintiff

seeks damages for the wrongful death of Judy Dalon. See De Aguilar v. Boeing Co., 11 F.3d 55,

57 (5th Cir. 1993) (finding complaint for wrongful death to be facially apparent for damages

exceeding amount-in-controversy requirement).                   Plaintiff also seeks damages for "severe

personal injuries," pain and suffering, severe emotional distress, funeral expenses, and the cash

value of the decedent's life expectancy. See Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883

(5th Cir. 2000) (holding that it was facially apparent from the plaintiff's complaint that

the amount in controversy was satisfied where the plaintiff alleged damages for mental anguish,

suffering, loss of wages, and medical expenses). Moreover, Plaintiff seeks damages for loss of

consortium.

           6.       Diversity of citizenship exists because the Plaintiff alleges to be a citizen of

Mississippi, and Ruleville is not a citizen of Mississippi. Compl. at ¶ 1. As set forth in detail

below, Ruleville Nursing and Rehabilitation Center, LLC, is a Mississippi limited liability

company whose members are all citizens of the State of New York. Therefore, Ruleville is a

citizen of New York, not Mississippi. See Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077,

1080 (5th Cir. 2008) (holding that the citizenship of an LLC is that of all its members).


1
    Pursuant to 28 U.S.C. § 1446(a), a copy of the Summons served on Ruleville is included in Exhibit A.
                                                           2

JM GCG 1404164 v1
2914439-000423 07/07/2015
        Case: 4:15-cv-00086-DMB-JMV Doc #: 1 Filed: 07/07/15 3 of 5 PageID #: 3



         7.       Ruleville Nursing and Rehabilitation Center, LLC’s members are D&N, LLC, and

DTD HC, LLC. D&N, LLC, and DTD HC, LLC, are New York limited liability companies.

D&N, LLC's members are Norbert A. Bennett, the Norbert A. Bennett Children's Trust, and the

Norbert A. Bennett Grand-Children's Trust. Mr. Bennett is a citizen of New York. The trustee

of the Norbert A. Bennett Children's Trust is Ronald Bennett, a citizen of New York, and the

trustee of the Norbert A. Bennett Grand-Children's Trust is also Ronald Bennett. See Mullins v.

TestAmerica, Inc., 564 F.3d 386, 397 n. 6 (5th Cir. 2009) (citing Navarro Savs. Ass'n v. Lee, 446

U.S. 458, 464 (1980) (holding that the citizenship of a trust is that of its trustee)).

         8.       DTD HC, LLC's members are Donald T. Denz and the Donald T. Denz

Irrevocable Trust. Mr. Denz is a resident and citizen of the State of New York. The trustee of

the Donald T. Denz Irrevocable Trust is Martin J. Clifford, a citizen of New York.

         9.       For these reasons, this Court has diversity jurisdiction pursuant to 28 U.S.C. §

1332, and removal is proper under §§ 1441 and 1446.

         10.      Venue is proper in the United States District Court for the Northern District of

Mississippi, Greenville Division, because that is the district in which the state court action was

filed. See 28 U.S.C. §§ 1446(a), 104(a)(3).

         11.      In accordance with 28 U.S.C. § 1446(d), Sunflower County Circuit Court and

Plaintiff's counsel have been given written notice of the filing of this Notice of Removal. See

Exhibit B.

         WHEREFORE, Ruleville Nursing and Rehabilitation Center, LLC, requests that the

above-captioned action now pending in Sunflower County Circuit Court be removed to the

United States District Court for the Northern District of Mississippi, Greenville Division, and

that the District Court assume jurisdiction over this lawsuit.

                                                   3

JM GCG 1404164 v1
2914439-000423 07/07/2015
        Case: 4:15-cv-00086-DMB-JMV Doc #: 1 Filed: 07/07/15 4 of 5 PageID #: 4



         This the 7th day of July, 2015.

                                               Respectfully submitted,

                                               RULEVILLE NURSING AND
                                               REHABILITATION CENTER, LLC

                                               By Its Attorneys,

                                               BAKER DONELSON BEARMAN
                                               CALDWELL & BERKOWITZ, PC


                                               By: _s/ Clay Gunn_____________________
                                                    CLAY GUNN


Bradley W. Smith (MSB No. 9834)
Clay Gunn (MSB No. 102920)
BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
MAILING: Post Office Box 14167
Jackson, Mississippi 39236-4167
PHYSICAL: 4268 I-55 North, Meadowbrook Office Park
Jackson, Mississippi 39211-6391
Telephone: (601) 351-2400
Facsimile: (601) 351-2424




                                           4

JM GCG 1404164 v1
2914439-000423 07/07/2015
        Case: 4:15-cv-00086-DMB-JMV Doc #: 1 Filed: 07/07/15 5 of 5 PageID #: 5



                                  CERTIFICATE OF SERVICE

         I hereby certify that I have mailed the foregoing Notice of Removal via U.S. mail, postage

prepaid, to the following counsel of record:

                  David E. Goodman, Jr. (MSB No. 100365)
                  BURCH, PORTER & JOHNSON, PLLC
                  130 North Court Avenue
                  Memphis, Tennessee 38103
                  dgoodman@bpjlaw.com

                  COUNSEL FOR PLAINTIFF


         This the 7th day of July, 2015.

                                               s/ Clay Gunn
                                               CLAY GUNN




                                                 5

JM GCG 1404164 v1
2914439-000423 07/07/2015
